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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG           §                      MDL No. 2179
“DEEPWATER HORIZON” in the                §
GULF OF MEXICO,                           §                      SECTION: J
on APRIL 20, 2010                         §
                                          §                     JUDGE BARBIER
             Applies to:                  §
                                          §                MAG. JUDGE SHUSHAN
                            All cases     §
and No. 10-2771, No. 10-4536, No. 11-     §
1054, and No. 11-1986
________________________________

   PROPOSED ORDER GRANTING HALLIBURTON ENERGY SERVICES, INC.'S
  EX PARTE CONSENT MOTION TO CORRECT MEMORANDUM IN SUPPORT OF
    MOTION FOR SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES

       This Court has considered Halliburton Energy Services, Inc.'s ("HESI") Ex Parte Consent

Motion To Correct Memorandum in Support of Motion for Summary Judgment Regarding

Indemnity Issues and is of the opinion that HESI's Motion should be GRANTED.             It is,

therefore,

       ORDERED that HESI's Ex Parte Consent Motion To Correct Memorandum in Support

of Motion for Summary Judgment Regarding Indemnity Issues GRANTED, and that page 11 of

HESI's Memorandum in Support of Its Motion for Summary Judgment Regarding Indemnity

Issues (Dkt. No. 4767-1) shall be replaced with the corrected page 11 attached to HESI's Motion

as Exhibit A. The Court requests that the Clerk's office replace the original page 11 of HESI's

Memorandum with the corrected page 11.

       IT IS SO ORDERED.

       Dated this _______ day of _________________, 2011.




                                              Carl J. Barbier

HALLIBURTON ENERGY SERVICES, INC.'S PROPOSED ORDER

1805406 v1-24010/0002 PLEADINGS
